         Case 1:18-cv-00055-SPW Document 99 Filed 08/08/19 Page 1 of 7



DEAN K. DUNSMORE
U.S. Department of Justice
Natural Resources Section
Environment & Natural Resources Division
C/O Office of U.S. Attorney
222 W 7th Ave, #9, Rm 253
Anchorage, Alaska 99513-7567
Telephone: (907) 271-5071
Email: dean.dunsmore@usdoj.gov

ATTORNEY FOR DEFENDANTS


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

    NATIVE ECOSYSTEMS COUNCIL,
    and ALLIANCE FOR THE WILD                CV 1:18-55-BLG-SPW-TJC
    ROCKIES,
                                             STIPULATED SETTLEMENT
                     Plaintiffs,             AGREEMENT

          vs.

    JOHN MEHLHOFF, State Director,1
    the BUREAU OF LAND
    MANAGEMENT, DEPARTMENT
    OF THE INTERIOR, an agency of the
    United States,

                     Defendants.




1
 Substituted pursuant Rule 25(d) of the Federal Rules of Civil Procedure for the
prior State Director.
                                        1
        Case 1:18-cv-00055-SPW Document 99 Filed 08/08/19 Page 2 of 7




      Plaintiffs, Native Ecosystems Council and Alliance for the Wild Rockies.,

and Defendants, John Mehlhoff, State Director, Bureau of Land Management,

Department of the Interior; the Bureau of Land Management, Department of the

Interior; and the United States Department of the Interior, by and through their

attorneys, stipulate as follows:

      WHEREAS, on March 23, 2018, Plaintiffs filed their Complaint for

Injunctive Relief alleging that Defendants violated the National Environmental

Policy Act, 42 U.S.C. §§ 4321 et seq., the Federal Land Policy and Management

Act (“FLPMA”), 43 U.S.C. §§ 1701-1785, and the Administrative Procedure Act,

5 U.S.C. §§ 701-706, in issuing the Decision Record, Iron Mask Planning Area

Environmental Assessment, Decision Record for Vegetation and Riparian

Treatments, Iron Mask Planning Area Environmental Assessment, and Final

Grazing Decision and Response to Protest – Indian Creek Forage Reserve.

      WHEREAS, on March 12, 2019, the Court entered an Order (Doc. 82) and a

Judgment (Doc. 83) denying in part and granting in part Plaintiffs’ motion for

summary judgment and granting in part and denying in part Defendants’ cross

motion for summary judgment, remanding to the Bureau of Land Management to




                                         2
        Case 1:18-cv-00055-SPW Document 99 Filed 08/08/19 Page 3 of 7



prepare a supplemental environmental assessment, and enjoining the challenged

actions pending the proceedings on remand.

       WHEREAS, on April 4, 2019, Plaintiffs filed a Motion for Attorney’s Fees

and Other Expenses Under the Equal Access to Justice Act (Doc. 85).

       WHEREAS, Plaintiffs and Defendants have agreed to the following

settlement that they consider to be a just, fair, adequate, and equitable resolution of

Plaintiffs’ demand for attorney’s fees, costs, and expenses.

       WHEREAS, Plaintiffs and Federal Defendants agree that settlement of

attorney’s fees, costs, and expenses in this manner is an appropriate way to resolve

the dispute between them.

       WHEREAS, Plaintiffs and Federal Defendants enter into this Stipulation

without any admission of fact or law, or waiver of any claims or defenses, factual

or legal.

       ACCORDINGLY, PLAINTIFFS AND DEFENDANTS AGREE AND

STIPULATE AS FOLLOWS:

       1.    Defendants agree to pay $100,000.00 in full and complete satisfaction

of any and all claims, demands, rights, and causes of action pursuant to EAJA, 28

U.S.C. § 2412, and/or any other statute or common law theory, for all attorney’s

fees, costs, and expenses incurred by Plaintiffs in connection with the above-

                                           3
        Case 1:18-cv-00055-SPW Document 99 Filed 08/08/19 Page 4 of 7



captioned litigation. This payment is in addition to the payment of $436.14 in

previously taxed and paid costs. The United States may offset the payment

amount for any delinquent debts owned by the payment recipients to the United

States pursuant to 31 U.S.C. §§ 3711, 3716.

      2.     Defendants’ payment, as identified in Paragraph 1 above, shall be

accomplished by electronic funds transfer to Akland Law Firm PLLC. Within

thirty days of final execution of the Stipulation, Plaintiffs shall provide the

following information necessary for Federal Defendants to process the electronic

funds transfer: the payee’s bank account number, account type, bank routing,

transit number and tax identification number.

      3.     Within thirty business days of receiving the information identified in

paragraph two above, or the signed court order approving this Stipulation,

whichever is later, Federal Defendants agree to submit all necessary paperwork to

the appropriate offices and to make every reasonable effort to provide for payment

to be transmitted within sixty days from receipt of the payment information or the

signed court order approving this Stipulation, whichever is later. Plaintiffs and

Plaintiffs’ attorneys agree to hold Federal Defendants and the United States

harmless in any litigation, further suit, or claim arising from the authorized transfer

of the agreed-upon amount.

                                           4
        Case 1:18-cv-00055-SPW Document 99 Filed 08/08/19 Page 5 of 7



       4.     Plaintiffs agree that receipt of the above-described payment from

Federal Defendants shall operate as a release of any and all claims for attorney’s

fees, costs, and expenses that Plaintiffs may have against Federal Defendants under

any authority with respect to all aspects of the above-captioned litigation.

       5.     By this Stipulation, Federal Defendants do not waive any right to

contest fees claimed by Plaintiffs, including the hourly rate, in any future litigation.

Further, this Stipulation as to attorney’s fees, costs, and expenses has no

precedential value and shall not be used as evidence of such in any other attorneys’

fees litigation.

       6.     No provision of this Stipulation shall be interpreted as or constitute a

commitment or requirement that Federal Defendants obligate or pay funds in

violation of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other appropriations

law.

       7.     This Stipulation represents the entirety of Plaintiffs’ and Federal

Defendants’ commitments with regard to settlement. The terms of this agreement

shall become effective upon final execution.

       8.     The Court shall retain jurisdiction to enforce the terms of this

agreement.




                                           5
        Case 1:18-cv-00055-SPW Document 99 Filed 08/08/19 Page 6 of 7



      9.     The undersigned representatives of Plaintiffs and Federal Defendants

certify that they are fully authorized by the party or parties that they represent to

enter into the terms and conditions of this Agreement and do hereby agree to the

terms herein.

Dated: August 8, 2019                   /s/ Kristine M. Akland
                                        Kristine M. Akland
                                        Akland Law Firm, PLLC
                                        Thomas Woodbury
                                        FOREST DEFENSE PC

                                        Attorneys for Plaintiffs



Dated: August 8, 2019                   /s/ Dean K. Dunsmore
                                        DEAN K. DUNSMORE
                                        U.S. Department of Justice
                                        Environmental & Nat. Res. Division
                                        C/O Office of U.S. Attorney
                                        222 W 7th Ave, #9, Rm 253
                                        Anchorage, AK 99513-7567
                                        Telephone: (907) 271-5071
                                        Email: dean.dunsmore@usdoj.gov

                                        Attorney for Defendants




                                           6
        Case 1:18-cv-00055-SPW Document 99 Filed 08/08/19 Page 7 of 7



                             CERTIFICATE OF SERVICE


     I hereby certify that on the 8th day of August 2019, a copy of the foregoing
document was served on the following persons by the following means.

        1-3        CM/ECF
                   Hand Delivery
                   U.S. Mail
                   Overnight Delivery Service
                   Fax
                   E-Mail

1. Clerk of Court                            2. Kristine M. Akland
                                             AKLAND LAW FIRM, PLLC
                                             P.O. Box 7274
                                             Missoula, Montana 59807
                                             (406) 544-9863 – phone
                                             aklandlawfirm@gmail.com
                                             Attorney for Plaintiffs
3. Thomas Woodbury
FOREST DEFENSE PC
618 Rollins St.
Missoula, Montana 59807
(650) 238-8759 – phone
tom@wildlandsdefense.com
Attorney for Plaintiffs



                                       s/ Dean K. Dunsmore
                                      Attorney for Defendants




                                         7
